             Case 1:18-vv-00494-UNJ Document 30 Filed 10/11/19 Page 1 of 5



                   In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                               No. 18-494V
                                           (not to be published)

*************************                                                 Special Master Corcoran
ANJANETTE WELCH,            *
                            *                                             Filed: August 29, 2019
                Petitioner, *
                            *
          v.                *
                            *                                             Attorney’s Fees and Costs;
SECRETARY OF HEALTH AND     *                                             Reasonable Basis.
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

Robert P. Goodwin, Walsh, Roberts & Grace, Buffalo, NY, for Petitioner.

Voris E. Johnson, U.S. Dep’t of Justice, Washington, DC, for Respondent.


                    DECISION AWARDING ATTORNEY’S FEES AND COSTS1

        On April 4, 2018, Anjanette Welch filed a petition under the National Vaccine Injury
Compensation Program (“Vaccine Program”) 2 alleging that she suffered Guillain-Barré syndrome
(“GBS”) after receipt of the influenza (“flu”) vaccine on October 18, 2016. ECF No. 1. In support of
her claim, Petitioner filed two expert reports from her treating neurologist, Dr. Fredric Schoen. See
generally Ex. 8, filed Oct. 25, 2018 (ECF No. 11-1); Ex. 10, filed Feb. 28, 2019 (ECF No. 15-2)
(“Schoen Second Rep.”). In his second report, however, Dr. Schoen characterized Petitioner’s injury
as “extremely mild GBS.” Schoen Second Rep. at 2. More significantly, taking into consideration the
facts that the timing of Petitioner’s injury onset was unclear and that her medical history suggested

1
  Although this Decision has been formally designated “not to be published,” it will nevertheless be posted on the Court
of Federal Claims’s website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012)). This means
that the Decision will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public in
its current form. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”). Individual
section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
             Case 1:18-vv-00494-UNJ Document 30 Filed 10/11/19 Page 2 of 5



potential alternate causes for her condition, Dr. Schoen concluded that he could not state within a
reasonable degree of medical certainty that the flu vaccine caused Petitioner’s injury (regardless of
whether it was properly characterized as GBS). Id.

        Following the submission of this expert report, I informed the parties of my intention to
resolve this case on the record, and they submitted briefs in support of their respective positions in
the spring of 2019. See generally Mot. for Ruling on Record, filed Apr. 12, 2019 (ECF No. 17); Resp.
to Mot. for Ruling on Record, filed Apr. 24, 2019 (ECF No. 18); Reply to Resp. to Mot. for Ruling
on Record, filed May 1, 2019 (ECF No. 19). I dismissed Petitioner’s claim in a Decision dated July 2,
2019. ECF No. 21 (“Decision”). Petitioner did not seek review of that dismissal decision.

        Petitioner has now filed an application for a final award of attorney’s fees and costs incurred
in connection with this case. Mot. for Atty’s Fees & Costs, filed August 1, 2019 (ECF No. 25) (“Fees
App.”). She requests a total award of $10,465.50, reflecting attorney’s fees in the amount of
$9,175.00, plus costs of $1,290.50, incurred between July 2017 and July 2019. Id. at 3; Fees App.
Ex. A at 6. As reflected in the fees motion, Respondent has offered no objection to Petitioner’s request
for an award of fees and costs. Fees App. at 2.

                                                     ANALYSIS

        Even unsuccessful Program claims can merit a fees and costs award—but to establish grounds
for fees in such a case, the petitioner must demonstrate the claim’s “reasonable basis” through some
objective evidentiary showing and in light of the “totality of the circumstances,” including all facts
relevant to the to the case, as well as the evidence actually supporting the claim itself. See Chuisano
v. Sec’y of Health & Human Servs., 116 Fed. Cl. 276, 286 (2014) (citing McKellar v. Sec’y of Health
& Human Servs., 101 Fed. Cl. 303, 303 (2011)). I have in prior decisions set forth at length the criteria
to be applied when determining if a claim possessed “reasonable basis”3 sufficient for a fees award.
See, e.g., Allicock v. Sec’y of Health & Human Servs., No. 15-485V, 2016 WL 3571906, at *4–5 (Fed.
Cl. Spec. Mstr. May 26, 2016), aff’d on other grounds, 128 Fed. Cl. 724 (2016); Gonzalez v. Sec’y of
Health & Human Servs., No. 14-1072V, 2015 WL 10435023, at *5–6 (Fed. Cl. Spec. Mstr. Nov. 10,
2015).

        The Court of Federal Claims recently provided further illumination as to the standards that
should be used to evaluate whether the totality of the circumstances warrant a finding that reasonable
basis existed. Cottingham v. Sec’y of Health & Human Servs., 134 Fed. Cl. 567, 578 (2017), appeal
docketed, No. 19-1596 (Fed. Cir. Feb. 26, 2019). As Judge Williams therein stated, a special master
should consider “the novelty of the vaccine, scientific understanding of the vaccine and its potential


3
 Although good faith is one of the two criteria that an unsuccessful petitioner requesting a fees award must satisfy, it is
an easily-met one. Grice v. Sec’y of Health & Human Servs., 36 Fed. Cl. 114, 121 (1996) (in the absence of evidence of
bad faith, special master was justified in presuming the existence of good faith).

                                                            2
             Case 1:18-vv-00494-UNJ Document 30 Filed 10/11/19 Page 3 of 5



consequences, the availability of experts and medical literature, and the time frame counsel has to
investigate and prepare the claim.”4 Id. at 574.

        At bottom, reasonable basis is something less than sufficient proof to meet the preponderance
evidentiary burden, consistent with the concept that even where a Petitioner is found not to have
established his claim by a preponderance, he may nevertheless be able to muster sufficient objective
proof to demonstrate reasonable basis. Braun v. Sec’y of Health & Human Servs., No. 17-1571V,
2019 WL 3228040, at *4 (Fed. Cl. June 19, 2019) (explaining that reasonable basis standard is “less
exacting than the preponderance of the evidence stand and thus, is easier to satisfy”).

        Here, I find that Petitioner’s claim possessed reasonable basis. Although the claim’s
weaknesses were rendered insurmountable when Dr. Schoen declined to opine within a reasonable
degree of medical certainty that the flu vaccine caused Petitioner’s injury, Petitioner did initially
allege GBS following the flu vaccine, a claim that appears on the Vaccine Injury Table. See 42 C.F.R.
§ 100.3(a)(XIV)(D). Additionally, Petitioner’s medical record provided ample support for the
contention that she experienced some kind of neuropathy following receipt of the flu vaccine, and she
also had a treater willing to (initially) opine in her favor. See Decision at 2–4. Thus, I find that, while
her claim was not supported by sufficient preponderant evidence to merit a damages award,
Petitioner’s claim did for most of its existence possess a reasonable basis, and Petitioner is thus
entitled to an award of reasonable attorney’s fees and costs.

        Determining the appropriate amount of the fees award is a two-part process. The first part
involves application of the lodestar method—“multiplying the number of hours reasonably expended
on the litigation times a reasonable hourly rate.” Avera v. Sec’y of Health & Human Servs., 515 F.3d
1343, 1347–48 (Fed. Cir. 2008) (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). The second
part involves adjusting the lodestar calculation up or down to take relevant factors into consideration.
Id. at 1348. This standard for calculating a fee award is considered applicable in most cases where a
fee award is authorized by federal statute. Hensley v. Eckerhart, 461 U.S. 424, 429–37 (1983).

        An attorney’s reasonable hourly rate is determined by the “forum rule,” which bases the proper
hourly rate on the forum in which the relevant court sits (Washington, DC, for Vaccine Act cases),
except where an attorney’s work was not performed in the forum and there is a substantial difference
in rates (the Davis exception). Avera, 515 F.3d at 1348 (citing Davis Cty. Solid Waste Mgmt. &
Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot. Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)).
McCulloch established the hourly rate ranges for attorneys with different levels of experience who
are entitled to the forum rate in the Vaccine Program. See McCulloch v. Sec’y of Health & Human
Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1, 2015).



4
 The existence of an impending statute of limitations deadline, however, has been removed from consideration under the
“totality of the circumstances” analysis, as it does not constitute an objective factor relevant to the claim’s underlying
validity. Simmons v. Sec’y of Health & Human Servs., 875 F.3d 632, 636 (Fed. Cir. 2017).
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             Case 1:18-vv-00494-UNJ Document 30 Filed 10/11/19 Page 4 of 5



        In this case, Petitioner requests fees for her counsel, Mr. Goodwin, at a rate of $250 per hour
for work performed from July 2017 to July 2019. Fees App. Ex. A at 1–5. As acknowledged in
Petitioner’s fees motion, Mr. Goodwin has previously been compensated for his work at a rate of
$175 per hour. Fees App. at 2 (discussing Ferenc v. Sec’y of Health & Human Servs., No. 15-1432V,
2016 WL 6426423 (Fed. Cl. Spec. Mstr. Aug. 11, 2016); Ferenc v. Sec’y of Health & Human Servs.,
No. 15-1431V, 2016 WL 3252785 (Fed. Cl. Spec. Mstr. May 10, 2016)). Petitioner asserts that Mr.
Goodwin is now entitled to an hourly rate of $250 based on the forum rates for an attorney with his
level of experience, as well as the fact that he is now a partner at his law firm. Id.

        Neither of the Ferenc attorney’s fees and costs decisions contained a reasoned determination
of whether Mr. Goodwin is entitled to the forum rates set forth in McCulloch. However, other
attorneys based in Buffalo, New York (where Mr. Goodwin’s practice is located) have not been found
to be “in-forum,” and have accordingly been awarded fees at a slightly lower rate. See, e.g., Harvey
v. Sec’y of Health & Human Servs., No. 16-705V, 2019 WL 3933656, at *3 (Fed. Cl. Spec. Mstr.
July 29, 2019). I find the rate requested for Mr. Goodwin’s work in this case, $250 per hour, to be
appropriate for a Buffalo-based attorney with his level of experience.5

        I also find the work performed in this matter—36.70 hours—to be reasonable, given the case’s
duration. Fees App. Ex. A at 5. Mr. Goodwin’s billing records are detailed, and do not reflect improper
billing for paralegal tasks or clerical work. Accordingly, I will make no adjustments to the hours
expended, and will award the requested attorney’s fees in full.

        Just as they are required to establish the reasonableness of requested fees, petitioners must
also demonstrate that requested litigation costs are reasonable. Perreira v. Sec’y of Health & Human
Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992); Presault v. United States, 52 Fed. Cl. 667, 670 (Fed. Cl.
2002). Petitioner requests $1,290.50 in overall costs. Fees App. Ex. A at 6. This amount includes the
cost of acquiring medical records, the filing fee, and reports from Dr. Schoen. Id. at 5–6. These costs
are typical of Vaccine Program litigation, and the total sum sought is reasonable. I shall thus award
the requested costs without reduction.

       Accordingly, in the exercise of the discretion afforded to me in determining the propriety of
fees and costs awards, and based on the foregoing, I GRANT Petitioner’s Motion for Attorney’s Fees
and Costs, awarding $10,465.50 in fees and costs in the form of a check jointly payable to Petitioner
and Petitioner’s counsel, Mr. Robert Goodwin, Esq. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance
with the terms of this decision.6



5
 In finding this hourly rate to be reasonable, I am not determining whether Mr. Goodwin is entitled to the forum rates set
forth in McCulloch.
6
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment if (jointly or separately) they file notices
renouncing their right to seek review.
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  Case 1:18-vv-00494-UNJ Document 30 Filed 10/11/19 Page 5 of 5




IT IS SO ORDERED.

                                       s/Brian H. Corcoran
                                       Brian H. Corcoran
                                       Special Master




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